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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JANELLE NEWSOME, individually and on
 behalf of others similarly situated,
                                                              Civil Action No. 19-5590
                          Plaintiff,
                                                         PLAINTIFF’S MOTION FOR
        v.                                           CONDITIONAL COLLECTIVE ACTION
                                                             CERTIFICATION
 CITY OF PHILADELPHIA,                                       (29 U.S.C. § 216(b))

                           Defendant.


   PLEASE TAKE NOTICE Plaintiff moves before the Honorable Michael M. Baylson

pursuant to 29 U.S.C. § 216(b) for an order: (1) determining that this case proceed as a

conditional collective action; (2) authorizing the mailing of Plaintiff’s proposed Notice to all

similarly situated persons currently and formerly employed by Defendant during the three years

preceding the date of filing of the Complaint to the present to inform them of their right to opt

into this lawsuit; and (3) ordering Defendant to produce a computer readable data file (Microsoft

Word/Excel) containing the names, addresses, social security numbers and telephone numbers of

each potential class plaintiff so that notice may be implemented. In support of her motion,

Plaintiff relies on the attached memorandum of law.




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JANELLE NEWSOME, individually and on
 behalf of others similarly situated,
                                                              Civil Action No. 19-5590
                          Plaintiff,
                                                        [PROPOSED] ORDER GRANTING
        v.
                                                      CONDITIONAL COLLECTIVE ACTION
                                                              CERTIFICATION
 CITY OF PHILADELPHIA,

                           Defendant.


   Upon consideration of Plaintiff’s Motion for Conditional Collective Action Certification;

and, IT APPEARING that this case seeks to proceed as a conditional collective action under the

Fair Labor Standards Act of 1938 contending that the Philadelphia Police Department has

systematically and willfully failed to provide nursing female Police Officers with “reasonable

break time to express breast milk for their nursing children for 1 year after the child’s birth each

time such employee has need to express the milk,” and has further failed to provide “a place,

other than a bathroom, that is shielded from view and free from intrusion from coworkers and the

public, which may be used by employees to express breast milk”;

   IT FURTHER APPEARING that Plaintiff seeks authorization for notice to all female Police

Officers who worked for the Philadelphia Police Department;

   IT FURTHER APPEARING that Plaintiff claims the alleged violations of the Fair labor

Standards Act were willful, and has therefore requested a three-year rearward cut-off for

potential opt-ins; and

   IT FURTHER APPEARING that Plaintiff seeks an order: (1) determining that this case

proceed as a conditional collective action; (2) authorizing the mailing of Plaintiff’s proposed



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Notice to all similarly situated persons currently and formerly employed by Defendant during the

three years preceding the date of filing of the Complaint to the present to inform them of their

right to opt into this lawsuit; and (3) ordering Defendant to produce a computer readable data file

(Microsoft Word/Excel) containing the names, addresses, social security numbers and telephone

numbers of each potential class plaintiff so that notice may be implemented;

   The Court has concluded that a reasonable basis for the maintenance of a conditional

collective action has been established. Notice of this case should be issued to present and former

female Police Officers who worked for the Philadelphia Police Department. The Court has also

concluded that the scope of this case is from November 26, 2016 to the date of filing of the final

Consent Form with the Court. Accordingly,

   IT IS THIS _____ day of ________ 20__, ORDERED that:

   1. The Court authorizes this case to proceed as a conditional collective action.

   2. The Court authorizes the mailing of Plaintiff’s proposed Notice to all similarly situated

       persons currently and formerly employed by Defendant during the three years preceding

       the date of filing of the Complaint to the present to inform them of their right to opt into

       this lawsuit.

   3. The Court directs Defendant to produce to Plaintiff a computer readable data file

       (Microsoft Word/Excel) containing the names, addresses, social security numbers and

       telephone numbers of each potential class plaintiff within ten days of the date of this

       order so that notice may be implemented.

                                              IT IS SO ORDERED.



                                              HON. MICHAEL M. BAYLSON




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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JANELLE NEWSOME, individually and on
 behalf of others similarly situated,
                                                               Civil Action No. 19-5590
                           Plaintiff,
                                                       MEMORANDUM OF LAW IN SUPPORT
                                                         OF PLAINTIFF’S MOTION FOR
         v.
                                                       CONDITIONAL COLLECTIVE ACTION
                                                               CERTIFICATION
 CITY OF PHILADELPHIA,
                                                               (29 U.S.C. § 216(b))
                            Defendant.


I.      INTRODUCTION

     Plaintiff seeks this Court’s authorization to have this case proceed as a collective action

under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. Section 216(b) on behalf of all current

and former female Police Officers employed by the Philadelphia Police Department at any time

during the three years preceding the date of filing of the Complaint to the present (hereafter

“Potential Opt-In Plaintiffs”).

     Plaintiff contends that the Philadelphia Police Department has systematically and willfully

failed to provide nursing female police officers with “reasonable break time to express breast

milk for their nursing children for 1 year after the child’s birth each time such employee has need

to express the milk,” and has further failed to provide “a place, other than a bathroom, that is



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shielded from view and free from intrusion from coworkers and the public, which may be used

by employees to express breast milk.” 29 U.S.C. § 207(r)(1)(A) and (B). (ECF Doc. 19,

Plaintiff’s Second Amended Complaint, at ¶ 1.)

    Technically, no class is formed by the approval of Plaintiff’s Notice and conditional

certification of this case to proceed collectively pursuant to 29 U.S.C. § 216(b); however, the

term “class” will be used herein to refer to individuals who will be allowed to opt into the case as

plaintiffs.

    To facilitate the adjudication of these claims, Plaintiff requests that the Court order

Defendant to produce a computer readable data file (Microsoft Word/Excel) containing the

names, addresses, social security numbers and telephone numbers of all Potential Opt-In

Plaintiffs so that the Notice and Consent to Join form attached hereto as Exhibit “A” may

promptly be mailed to all Potential Opt-In Plaintiffs, so that they can assert their claims on a

timely basis as part of this litigation.

    To participate in this case, Potential Opt-In Plaintiffs must affirmatively “opt-in” by filing a

written consent to join. 29 U.S.C. § 216(b). In order to decide whether to opt into this case,

Potential Opt-In Plaintiffs should be apprised of the pendency of this case. Under the FLSA, the

statute of limitations applicable in a given action may be two years, or, as Plaintiff alleges in this

case, three years due to Defendant’s willful violations of the FLSA. 29 U.S.C. § 255(a).

    The Notice sought here provides objective, accurate information to class members regarding

the nature of the lawsuit, the effect of the statute of limitations on their claims, and instructions

about how to exercise their right to join.

    It is alleged that Plaintiff and Potential Opt-In Plaintiffs were uniformly denied their rights to

“reasonable break time to express breast milk for their nursing children for 1 year after the




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child’s birth each time such employee has need to express the milk,” and “a place, other than a

bathroom, that is shielded from view and free from intrusion from coworkers and the public,

which may be used by employees to express breast milk.” 29 U.S.C. § 207(r)(1)(A) and (B).

Plaintiff and Potential Opt-In Plaintiffs are similarly situated because they share the same job

description, job classification, and job duties; and were subject to uniform policies, business

practices, payroll practices, and operating procedures. Further, Defendant’s willful policies and

practices, which are discussed more fully below, whereby Defendants the rights of Plaintiff and

Potential Opt-In Plaintiffs under the FLSA’s Break Time for Nursing Mothers provision, have

affected Plaintiff and Potential Opt-In Plaintiffs in the same fashion. Because each members of

this putative class performed the same basic job duties and were subject to the same unlawful

business practices, their claims can readily be adjudicated on a collective action basis.

      A court-ordered notice and opt-in period will facilitate consolidated resolution of claims

based on common law and facts. Such collective action adjudication will avoid the proliferation

of individual lawsuits that could result in disparate rulings and wasting of judicial and party

resources. For these reasons, the Court should promptly authorize this case to proceed as a

collective action, order the identification of Potential Opt-In Plaintiffs, and authorize issuance of

the proposed Notice to be mailed to all Potential Opt-In Plaintiffs employed by Defendant.

II.      OVERVIEW OF PLAINTIFF’S FLSA COLLECTIVE ACTION ALLEGATIONS

      The Philadelphia Police Department employs over employs over 6300 sworn members,

approximately 35% of which are women. (ECF Doc. 19, Plaintiff’s Second Amended Complaint,

at ¶ 16.) There are eleven different ranks in the PPD in the following order, beginning at the

entry level position of Police Officer and ending with Police Commissioner: (1) Police Officer;

(2) Detective; (3) Corporal; (4) Sergeant; (5) Lieutenant; (6) Captain; (7) Staff Inspector; (8)




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Inspector; (9) Chief Inspector; (10) Deputy Commissioner; and (11) Commissioner. (Id. at ¶ 17.)

The City of Philadelphia’s Human Resources Department provides a uniform class specification

for Police Officer, outlining the general definition of the role, typical examples of work, required

knowledge, skills and abilities, minimum acceptable training and experience required, physical

and medical requirements, and licenses, registrations and certification requirements. See

https://www.phila.gov/personnel/specs/6A02.htm; ECF Doc. 19, Plaintiff’s Second Amended

Complaint, at ¶ 17.

    Pursuant to 29 U.S.C. §§ 216(b) and 207(r) of the FLSA, Ms. Newsome brings this action

individually and on behalf of other similarly situated female Police Officers employed by the

Philadelphia Police Department who were or continue to be denied their rights under the FLSA’s

“Break Time for Nursing Mothers” provision, which requires employers to provide (1)

“reasonable break time for an employee to express breast milk for her nursing child for 1 year

after the child’s birth each time such employee has need to express the milk”; and (2) “a place,

other than a bathroom, that is shielded from view and free from intrusion from coworkers and the

public, which may be used by an employee to express breast milk.” 29 U.S.C. § 207(r)(1)(A) and

(B). (Id. at ¶ 18.) Plaintiff estimates that there are in excess of 500 other similarly situated

Collective Class Plaintiffs who are working or worked for the PPD and are or were unlawfully

denied their rights under the FLSA’s Break Time for Nursing Mothers provision, 29 U.S.C. §

207(r). (Id. at ¶ 20.) The precise number of employees can be easily ascertained by Defendant

using Defendant’s payroll and personnel records; and Potential Collective Class Plaintiffs may

be informed of the pendency of this Collective Action by direct mail and/or publication. (Id. at ¶

21.)




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       Pursuant to 29 U.S.C. § 216(b), this action is properly maintained as a collective action

because all class members are similarly situated. Plaintiff and other similarly situated female

Police Officers (1) were and continue to be similarly denied reasonable break time to express

breast milk for their nursing children for 1 year after birth each time the need arises, and also

denied a private place, other than a bathroom, to do so; (2) had the same or substantially similar

job classifications and duties; and (3) are subject to the same uniform policies, business

practices, payroll practices, and operating procedures. (Id. at ¶ 22.) Further, Defendant’s willful

failure to implement a policy or directive to provide basic accommodations for breastfeeding

mothers under the FLSA’s Break Time for Nursing Mothers provision, affected and continues to

affect Plaintiff and Collective Class Plaintiffs in the same fashion. (Id. at ¶ 23.)

III.      ARGUMENT

       A. THE DISTRICT COURT IS AUTHORIZED TO ISSUE NOTICE TO THE
          POTENTIAL OPT INS.

       The FLSA’s “collective action” provision allows one or more employees to bring an action

for overtime compensation and/or unpaid minimum wages “on behalf of himself or themselves

and other employees similarly situated.” 29 U.S.C. § 216(b). Collective actions serve the

important function of providing “plaintiffs the advantage of lower individual costs to vindicate

rights by pooling of resources” and serve the equally important judicial interest of “efficient

resolution in one proceeding of common issues of law and fact arising from the same alleged . . .

activity.” Hoffman-LaRoche, Inc. v. Sperling, 493 U.S. 165, 170 (1989). “The evident purpose

of the [FLSA] is to provide one lawsuit in which the claims of different employees, different in

amount but all arising out of the same character of employment, can be presented and

adjudicated, regardless of the fact that they are separate and independent of each other.” Shain v.

Armour & Co., 40 F. Supp. 488, 490 (W.D. Ky. 1941).



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   To serve the “broad remedial purpose” of the FLSA, courts are afforded the power to give

notice to other potential class members to “opt in” to the plaintiff’s case. Hoffman-LaRoche, 493

U.S. at 170. Additionally, early court-authorized notice protects against “misleading

communications” by the parties, resolves the parties’ disputes regarding the content of any

notice, prevents the proliferation of multiple individual lawsuits, assures joinder of additional

parties is accompanied properly and efficiently, and expedites resolution of the dispute. Id. In the

present case, prompt notice serves the critical function of advising potential claimants to file

their Consent to Join forms pursuant to Section 216(b).

   The standard for collective action notice “is a lenient one.” Camesi v. University of

Pittsburgh Medical Center, 729 F.3d 239 (3d Cir. 2013). “Applying a fairly lenient standard,”

courts make “a preliminary determination as to whether the named plaintiffs have made a

‘modest factual showing’ that the employees identified in their complaint are ‘similarly

situated.’” Id. The standard is considerably less stringent than the proof required pursuant to Fed.

R. Civ. P. 20(a) for joinder, or Fed. R. Civ. P. 23 for class certification. Halle v. W. Penn

Allegheny Health Sys. Inc., No. 15-3089, 2016 WL 6818841 (3d Cir. Nov. 18, 2016).

   For an opt in class to be created under Section 216(b), an employee need only show that she

is suing her employer for herself and on behalf of other employees similarly situated. Camesi,

729 F.3d at 242-43. Plaintiff’s claims and positions need not be identical to the potential opt-ins,

they need only be similar. Grayson v. K Mart Corp., 79 F.3d 1086, 1096 (11th Cir. 1996);

Stillman v. Staples, Inc., 2009 WL 1437817 (D.N.J. May 15, 2009). Plaintiff need only

demonstrate “a reasonable basis” for the allegation that a class of similarly situated persons may

exist. Grayson, 79 F.3d at 1097.




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   Discovery is not necessary for this Court to issue notice. At the notice stage, courts determine

whether plaintiffs and potential opt ins are “similarly situated” based upon detailed allegations in

a complaint. Sperling v. Hoffman-LaRoche, Inc., 118 F.R.D. 392, 406-07 (D.N.J. 1998), aff’d

493 U.S. 165 (1989).

   Once the court makes the preliminary determination that the potential plaintiffs are similarly

situated, the case proceeds as a collective action throughout discovery. Camesi, 729 F.3d at 242-

43. Discovery is relevant thereafter both as to the merits of the case and to the second step in the

collective action procedure in which the court evaluates conflicting evidence developed in

discovery to test the validity of the preliminary decision made at the notice stage. Id. Indeed,

allowing early notice and full participation by the opt ins “assures that the final ‘similarly

situated’ decision is informed, efficiently reached, and conclusive.” Sperling, 118 F.R.D. at 406.

Early notice will help the court to manage the case because it can “ascertain the contours of the

action at the outset.” Hoffman-LaRoche, 493 U.S. at 172-73.

   B. ISSUANCE OF THE NOTICE IS APPROPRIATE BECAUSE PLAINTIFF
      MEETS THE SIMILARLY SITUATED STANDARD.

   Plaintiff readily meets the liberal standard for court facilitation of an FLSA collective action.

The detailed allegations in the Complaint establish that there are other Potential Opt-In Plaintiffs

who may wish to join and that they are similarly situated because they share the same job

description, job classification, and job duties; and were subject to uniform policies, business

practices, payroll practices, and operating procedures.

       1.      THERE ARE OTHER SIMILARLY SITUATED POTENTIAL OPT-IN
               PLAINTIFFS WHO MAY DESIRE TO OPT IN.

   Plaintiff has established that there are similarly situated Potential Opt-In Plaintiffs who were

employed during the liability period as Police Officers who may be interested in opting in to this




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case. (ECF Doc. 19, Plaintiff’s Second Amended Complaint, at ¶¶ 16-28.) There are in excess of

500 other similarly situated employees who were employed as female Police Officers during the

relevant time frame of this case. (Id. at 20.) Plaintiff and Potential Opt-In Plaintiffs were engaged

in the same or similar job duties as defined by the Philadelphia Police Department Human

Resources job description for Police Officer. (Id. at 17.) Additionally, Plaintiffs and Potential

Opt-In Plaintiffs are alleged to have been subjected to Defendant’s willful failure to implement a

policy or directive to provide basic accommodations for breastfeeding mothers under the FLSA’s

Break Time for Nursing Mothers provision, which affected and continues to affect Plaintiff and

Collective Class Plaintiffs in the same fashion. (Id. at ¶ 23.)

       2.      PLAINTIFF HAS CARRIED HER BURDEN OF DEMONSTRATING A
               REASONABLE BASIS FOR COLLECTIVE ACTION DETERMINATION.

   Collective action authorization and notice to the class is warranted here because Plaintiff has

met the “lenient standard” for the class allegations. See Camesi, 729 F.3d at 242-43. Here,

Plaintiff has provided detailed allegations in the Complaint and has amply supported her

allegations:

       •    The Complaint avers in detail the named Plaintiff’s claims including the common job

            description, job classification, job duties, policies, business practices, and operating

            procedures; and

       •    The Complaint avers in detail that other Potential Opt-In Plaintiffs performed the

            same or similar jobs, under the same uniform job description, job classification, job

            duties, policies, business practices, and operating procedures as the named Plaintiff.

   Such a showing of detailed allegations supported by factual averments more than satisfies the

“lenient standard” for collective action notice. Camesi, 729 F.3d at 242-43. Plaintiff makes a




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strong showing of similarity of duties and unlawful business practices among an estimated 500

Potential Opt-In Plaintiffs.

    Notice must be expedited in order to apprise Potential Opt-In Plaintiffs of their claims. The

information contained in the proposed Notice, attached hereto as Exhibit “A” is essential to

allow Potential Opt-In Plaintiffs to act to protect their interests. Without notice, they may be

unaware of the pendency of their right to opt in, and they are powerless to prevent their claims

from wasting away. Therefore, notice should be expedited to the maximum extent feasible and

should be sent to all persons who were employed by Defendant as female Police Officers within

the potential liability period.

    C. THE PROPOSED NOTICE IS FAIR AND ADEQUATE.

    A collective action depends on “employees receiving accurate and timely notice concerning

the pendency of the collective action, so that they can make informed decisions about whether to

participate.” Hoffman-LaRoche, 493 U.S. at 170. Court-authorized notice prevents “misleading

communications.” Id. at 172.

    Plaintiff’s proposal for court-approved notice (attached hereto as Exhibit “A”) to the

potential opt-ins is accurate and informative as required. It provides notice of the pendency of the

action and the opportunity to opt in. Plaintiff’s legal claims are accurately described. Potential

Opt-In Plaintiffs are advised that Defendant is defending against the claims and that they are not

required to participate. Plaintiff’s Notice provides clear instructions on how to opt in and

accurately states the prohibition against retaliation or discrimination for participation in an FLSA

action. See 29 U.S.C. § 215(a)(3). The Notice informs Potential Opt-In Plaintiffs that the Court

has not made any determination regarding the merits of Plaintiff’s claims.




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      Plaintiff proposes that the Notice and Consent to Join forms be mailed by first-class mail to

all Potential Opt-In Plaintiffs employed within three years of the date of filing of this lawsuit.

Those class members interested in participating would be required to file their consents with the

Court. Derek Smith Law Group, PLLC will receive and file all Consent to Join forms with the

Court. This is consistent with established practice under the FLSA. Hoffman-LaRoche, 493 U.S.

at 172.

      In sum, the proposed Notice is fair and accurate and should be approved for distribution.

      D. THE PROPOSED LIMITED DISCOVERY IS ESSENTIAL TO ENSURE
         PROPER NOTICE.

      Discovery of a mailing list for class members is a routine component of notice in collective

actions. Hoffman-LaRoche, 493 U.S. at 170 (“District Court was correct to permit discovery of

the names and addresses…”). Defendant should therefore be ordered to produce the names,

addresses, social security numbers and telephone numbers for all Potential Opt-In Plaintiffs who

worked for Defendants within three years of the filing of this action to present.

IV.       CONCLUSION

      For the foregoing reasons, the Court should grant Plaintiff’s motion to (1) authorize this case

proceed as a conditional collective action; (2) authorize the mailing of Plaintiff’s proposed

Notice to all similarly situated persons currently and formerly employed by Defendant during the

three years preceding the date of filing of the Complaint to the present to inform them of their

right to opt into this lawsuit; and (3) order Defendant to produce a computer readable data file

(Microsoft Word/Excel) containing the names, addresses, social security numbers and telephone

numbers of each potential class plaintiff so that notice may be implemented.




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                               Respectfully submitted,

                               DEREK SMITH LAW GROUP, PLLC

                               /s/ Ian M. Bryson, Esquire
                               IAN M. BRYSON, ESQUIRE
Dated: December 3, 2021        Attorneys for Plaintiff and the Proposed Class




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                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JANELLE NEWSOME, individually and on
 behalf of others similarly situated,

                         Plaintiff,
                                                             Civil Action No. 19-5590
        v.
                                                         CERTIFICATE OF SERVICE
 CITY OF PHILADELPHIA,

                          Defendant.


       I hereby certify that on December 3, 2021 I electronically filed the foregoing paper with

the Clerk of Court using the ECF system which will send notification of such filing to all counsel

of record.


                                                      /s/Ian M. Bryson, Esquire
                                                      Ian M. Bryson, Esquire
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Dated: December 3, 2021                               ian@dereksmithlaw.com




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